Py Case 3:00-cv-02377-N Document5 Filed 11/03/00 Pageiof1 PagelD 7

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT
Obi SSTRICT COURT
DALLAS DIVISION |  yoRTHERN DISTRICT OF TEXAS
FILED

 

    
    

 

KEITH B. BURKINS {
CLERK, U.S. DISTRICT QQURT

 

 

Plaintiff Deputy

 

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ROGER A. RUDLOFF, ET AL
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| US DIST. CT CLERK S OFFICE

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Defendant )

ORDER
The Judge to whom this case was initially assigned having recused himself, it is
ORDERED that this case be, and the same hereby is, assigned to the docket of the Honorable
Barbara M.G. Lynn, United States District Judge, and should reflect the following case
number: 3:00-CV-2377-M

Dated this 3 day of November 2000.

JE MEYER
CHIE
